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                     UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF CONNECTICUT



   - - - - - - - - - - - - - - - - x
                                   :
   UNITED STATES OF AMERICA        :        No.   3:15CR76(RNC)
                                   :
              vs.                  :
                                   :
   UBS AG,                         :
                                   :        HARTFORD, CONNECTICUT
                     Defendant.    :        MAY 20, 2015
                                   :
   - - - - - - - - - - - - - - - - x




                                   PLEA




         BEFORE:

                   HON. ROBERT N. CHATIGNY, U.S.D.J.




                                          Darlene A. Warner, RDR-CRR
                                          Official Court Reporter
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   APPEARANCES:


         FOR THE GOVERNMENT:

             U.S. DEPARTMENT OF JUSTICE
             1400 New York Avenue, NW
             Fourth Floor
             Washington, DC 20005
             BY: SANDRA LEIGH MOSER, TRIAL ATTY

         FOR THE DEFENDANT:

             GIBSON, DUNN & CRUTCHER
             1050 Connecticut Ave., N.W.
             Washington, DC 20036-5303
             BY: DAVID P. BURNS, ESQ.
                  F. JOSEPH WARIN, ESQ.

             MEREDITH C. BRAXTON, ESQ.
             280 Railroad Avenue, Suite 205
             Greenwich, Connecticut 06830
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1                                   10:30 A.M.

2

3                   THE COURT:    Good morning.    Would you please

4       state your appearances.

5                   MS. MOSER:    Yes, good morning, Your Honor,

6       Sandra Moser with the U.S. Department of Justice Criminal

7       Divisions Fraud Section.

8                   MS. BRAXTON:    Meredith Braxton for the defendant

9       UBS AG.

10                  Your Honor, as an initial matter, I have motions

11      to admit Attorneys Joseph Warin and David Burns pro hac

12      vice.   I have written motions I can file tomorrow when the

13      case is open that include the affidavits that are required

14      by 83.1, and if you would like to look at them, I can hand

15      them up.

16                  THE COURT:    That's fine, thank you.

17                  All right, your request is granted.

18                  MS. BRAXTON:    And further, Your Honor, pursuant

19      to 83.1, may I be excused from appearing in court further

20      and participating in the proceedings in the future?

21                  THE COURT:    Yes.

22                  MS. BRAXTON:    Thank you, Your Honor.

23                  MR. BURNS:    And good morning, Your Honor, I

24      wanted to also introduce the corporate representative from

25      UBS, James Fuqua, who is a managing director at UBS and
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1       the general counsel for the Investment Bank of the

2       Americas.

3                   THE COURT:    Good morning.

4                   I have received paperwork showing that UBS AG

5       has entered into a plea agreement with the government

6       whereby it would like to waive its right to indictment and

7       consent to the filing of an information charging wire

8       fraud.   In addition, it's my understanding that the

9       company would like to enter a plea of guilty today.

10                  Ms. Moser, is that correct?

11                  MS. MOSER:    That is, Your Honor.      The parties

12      have reached an agreement pursuant to Rule 11(c)(1)(C) of

13      the Rules of Criminal Procedure regarding a proposed plea

14      for Your Honor's review.

15                  THE COURT:    All right, fine.

16                  The parties submitted a document to chambers

17      entitled "Parties' Joint Proposed Outline."

18                  Mr. Fuqua, have you see that outline?

19                  CORPORATE REPRESENTATIVE:      Yes, I have, Your

20      Honor.

21                  THE COURT:    We will be proceeding more or less

22      in accordance with that outline.

23                  At the start, I need to be sure that you are

24      duly authorized to act on behalf of UBS AG.

25                  Mr. Burns, is there a resolution?
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1                   MR. BURNS:    There is, Your Honor.      It is

2       Exhibit 2 to the proposed plea agreement, and we can hand

3       it up to Your Honor with your permission.

4                   THE COURT:    All right.    Let me please take a

5       look at that now.

6                   MS. MOSER:    Sure.   And Your Honor, what I'm

7       handing up is the fully executed plea agreement with all

8       of the attachments and the proposed corporate resolution

9       is attached here as Exhibit 2.

10                  THE COURT:    All right, thank you.

11                  Mr. Fuqua, the applicable rules require me to

12      ask a number of questions today in your capacity as the

13      representative of UBS AG, and in connection with that, I

14      need to ask the clerk to place you under oath at this

15      time.

16                  THE CLERK:    I'm going to ask you to raise your

17      right hand.

18                        (Corporate Representative sworn.)

19                  THE CLERK:    Thank you.

20                  THE COURT:    Please state your full name and

21      business address for the record.

22                  CORPORATE REPRESENTATIVE:      James Fuqua, 153 West

23      51st Street, New York, New York.

24                  THE COURT:    What is your position, please, sir?

25                  CORPORATE REPRESENTATIVE:      Managing Director of
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1       UBS AG New York branch, and I act as general counsel for

2       the Investment Bank of the Americas.

3                   THE COURT:    Is it your understanding that you

4       are duly authorized to act on behalf of UBS AG today?

5                   CORPORATE REPRESENTATIVE:      Yes, it is, Your

6       Honor.

7                   THE COURT:    Are you prepared to proceed?

8                   CORPORATE REPRESENTATIVE:      Yes, I am.

9                   THE COURT:    Do you need a postponement for any

10      reason?

11                  CORPORATE REPRESENTATIVE:      No, I do not.

12                  THE COURT:    Please be seated.

13                  Mr. Fuqua, have you reviewed the resolution that

14      is set out at Exhibit 2 to the plea agreement?

15                  CORPORATE REPRESENTATIVE:      Yes, I have, Your

16      Honor.

17                  THE COURT:    Can you state that to the best of

18      your knowledge it is a true and accurate copy of a

19      resolution of the Board of the company passed on May 19,

20      2013, authorizing you to act on behalf of the company

21      today?

22                  CORPORATE REPRESENTATIVE:      Yes, I can.

23                  THE COURT:    As far as you know, is that valid?

24                  CORPORATE REPRESENTATIVE:      Yes.

25                  THE COURT:    Mr. Burns, do you have any doubt
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1       about Mr. Fuqua's competence to proceed today on behalf of

2       UBS AG?

3                   MR. BURNS:    I do not, Your Honor.

4                   THE COURT:    Or his authority to do so?

5                   MR. BURNS:    No.

6                   THE COURT:    Mr. Fuqua, is your mind clear this

7       morning?

8                   CORPORATE REPRESENTATIVE:      Yes, it is, Your

9       Honor.

10                  THE COURT:    Are you having any difficulty

11      understanding what is going on?

12                  CORPORATE REPRESENTATIVE:      No, I'm not.

13                  THE COURT:    Given your state of mind today, do

14      you believe that you are capable of acting on behalf of

15      the company?

16                  CORPORATE REPRESENTATIVE:      I do.

17                  THE COURT:    Are you satisfied with the legal

18      services that are being provided to the company by

19      counsel?

20                  CORPORATE REPRESENTATIVE:      Yes, Your Honor.

21                  THE COURT:    Mr. Burns, do you know of any reason

22      why we should not proceed at this time?

23                  MR. BURNS:    I do not.

24                  THE COURT:    Let's first deal with the company's

25      desire to waive its right to indictment.
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1                   Has a written waiver been prepared?

2                   MR. BURNS:    Your Honor, we have the waiver here,

3       and with the Court's permission, we would like to change

4       where it says "I" or "me" or "my" to "the defendant" or

5       "the defendants" to make it clear that Mr. Fuqua is

6       waiving on behalf of the company as a corporate

7       representative and not a natural person and to change the

8       signature to corporate representative signature.

9                   And, Your Honor, would you like me to bring this

10      up to the bench?

11                  THE COURT:    Yes, please.

12                        (Pause)

13                  THE COURT:    Mr. Fuqua, have you read the

14      information that the parties propose to have the Court

15      file here?

16                  CORPORATE REPRESENTATIVE:      I have, Your Honor.

17                  THE COURT:    Have you had sufficient time to

18      review that with counsel?

19                  CORPORATE REPRESENTATIVE:      I have, Your Honor.

20                  THE COURT:    The information charges a felony.

21      Under the Constitution, the company has a right to insist

22      on indictment by a grand jury.       Under the Constitution,

23      the corporation may not be prosecuted for a felony except

24      pursuant to an indictment returned by a grand jury, but

25      the company does have a right to waive indictment by a
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1       grand jury and we can proceed on the basis of an

2       information.

3                   If the company does not waive its right to

4       indictment by a grand jury, it could not be charged with

5       this felony unless the grand jury were to find probable

6       cause to believe that an offense has been committed by the

7       company as set out in the information.

8                   Please understand that a grand jury consists of

9       at least 16 and not more than 23 people.         A grand jury

10      could not indict the company for the crime charged in the

11      information unless 12 members of the grand jury found

12      probable cause to believe that the company had committed

13      this crime.

14                  If you waive the company's right to indictment

15      by a grand jury, the case will proceed against the company

16      pursuant to the information just as though the company had

17      been indicted by a grand jury.

18                  Have you discussed the company's right to

19      indictment by a grand jury with your counsel?

20                  CORPORATE REPRESENTATIVE:      I have, Your Honor.

21                  THE COURT:    Are you satisfied that you

22      understand this right?

23                  CORPORATE REPRESENTATIVE:      I am, Your Honor.

24                  THE COURT:    Are you prepared to waive this

25      right?
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1                   CORPORATE REPRESENTATIVE:       I am, Your Honor.

2                   THE COURT:    Have any threats or promises been

3       made to the company to induce it to waive its right to

4       indictment by a grand jury?

5                   CORPORATE REPRESENTATIVE:       None, Your Honor.

6                   THE COURT:    Mr. Burns, do you know of any reason

7       why the company should not waive its right to indictment

8       by a grand jury?

9                   MR. BURNS:    No, Your Honor.

10                  THE COURT:    All right.    It appears to me that

11      Mr. Fuqua, having been duly authorized to act on behalf of

12      the company, has waived the company's right to indictment

13      by a grand jury.      This waiver is a knowing and voluntary

14      waiver and it is therefore accepted.

15                  Do you have the information for filing?

16                  MS. MOSER:    I do, Your Honor.

17                  THE COURT:    It may be filed at this time.

18                  At this time I'm going to ask Ms. Moser to

19      briefly describe the charge set forth in the information,

20      please.

21                  MS. MOSER:    Of course, Your Honor.

22                  The information is a single count.        It charges a

23      violation of Title 18 United States Code Sections 1343 and

24      2, the wire fraud statute.

25                  The elements of that charge are:
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1                   First, that there was a scheme or artifice to

2       defraud or to obtain money or property by materially false

3       and fraudulent pretenses, representations or promises;

4                   Second, that the defendant knowingly and

5       willfully participated in the scheme or artifice to

6       defraud with the intent to defraud; and

7                   Third, that in furtherance of that scheme, the

8       defendant used or caused to be used an interstate or

9       international wire transmission.

10                  And I should add that the date of the violation

11      charged in the information is on or about June 29, 2009.

12                  THE COURT:    All right.    What are the maximum

13      possible penalties that could be imposed if the company

14      were to plead guilty to this charge?

15                  MS. MOSER:    The wire fraud offense charged in

16      the information carries a maximum penalty of five years

17      probation and a fine of $1 million or the greater of twice

18      the gross gain to the defendant or loss to others

19      resulting from the offense.       Restitution is also normally

20      required pursuant to Title 18 United States Code

21      Section 3663A.     However, there's an exception to that

22      provision contained within the statute at

23      Section 3663A(c)(3)(B), which is applicable in that it

24      provides that the requirement of restitution does not

25      apply in a situation where determining complex issues of
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1       fact relating to the cause or the amount of the victim's

2       losses would complicate or prolong the sentencing process

3       to a degree that the need to provide restitution to any

4       victim is outweighed by the burden on the sentencing

5       process.

6                   And here the parties have agreed, as is

7       memorialized in the proposed plea agreement, not to

8       recommend that restitution be imposed on the basis of the

9       exception that I just set forth.

10                  And finally, Your Honor, the defendant is also

11      required to pay a $400 special assessment.

12                  THE COURT:    All right, thank you.

13                  With regard to the elements of the offense,

14      Mr. Fuqua, if this case were to be tried, the government

15      would have to prove the three things that Ms. Moser has

16      stated.

17                  First, that there was a scheme or artifice to

18      defraud or to obtain money or property by materially false

19      and fraudulent pretenses, representations or promises;

20                  Second, that the defendant knowingly and

21      willfully participated in the scheme or artifice to

22      defraud with the intent to defraud; and

23                  Third, that in furtherance of the scheme, the

24      defendant used or caused to be used an interstate or

25      international wire transmission.
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1                   Do you understand that unless the government

2       could prove all three of those facts beyond a reasonable

3       doubt, the company could not be convicted?

4                   CORPORATE REPRESENTATIVE:       I do, Your Honor.

5                   THE COURT:    With regard to the maximum possible

6       penalties that could attach to a conviction of this

7       offense, it's my understanding that the law would permit

8       imposition of a fine of twice the gross gain to the

9       defendant or twice the gross loss to others, whichever is

10      greater.

11                  Is the government able to estimate what that

12      maximum possible fine could be?

13                  MS. MOSER:    Your Honor, the parties have had

14      discussions regarding both of their views on what the

15      potentials losses are, and the government has shared its

16      view with the defendant that the potential intended loss,

17      under the guidelines that is, could be as much as

18      $1.6 billion, which of course may or may not arguably

19      apply under the alternative fine provision that Your Honor

20      is mentioning.     But I think it's safe to say that that

21      would be a number well in excess of the $1 million

22      provided by the statute itself under 1343 and that the

23      alternative fine provision would provide for much greater

24      losses.    Whether they would encompass the intended loss

25      that we have looked at under the guidelines is not
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1       something that I'm sure of, but there's certainly losses

2       well in excess of that provided by the wire fraud statute.

3                   MR. BURNS:    And, Your Honor, while we certainly

4       acknowledge the government's position on loss or intended

5       loss amount, we don't agree with the calculation, but we

6       do agree that the proposed fine is -- we do agree that the

7       alternative fine provision applies and we do agree the

8       proposed fine is well within the alternative fine

9       provision.

10                  THE COURT:    All right.

11                  Mr. Fuqua, the applicable rules require me to

12      inform the company through you that were the company to

13      plead guilty to this offense, the maximum possible fine

14      could conceivably exceed $3 billion, do you understand,

15      sir?

16                  CORPORATE REPRESENTATIVE:       I do, Your Honor.

17                  THE COURT:    Mr. Burns, have you reviewed with

18      Mr. Fuqua the relevant provisions of the Federal

19      Sentencing Guidelines?

20                  MR. BURNS:    Yes, Your Honor.

21                  THE COURT:    Are you satisfied that he has a

22      sufficient understanding of how the guidelines would apply

23      here?

24                  MR. BURNS:    I am satisfied, Your Honor.

25                  THE COURT:    In the previous case, a presentence
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1       report was prepared which included an application of the

2       guidelines.     Is that something that you have reviewed with

3       Mr. Fuqua in connection with this case?

4                   MR. BURNS:    We haven't reviewed with Mr. Fuqua

5       the guideline calculation from the earlier case.           We had

6       reviewed how the guidelines could potentially apply to the

7       current circumstances, many of which are quite similar.

8                   THE COURT:    All right.

9                   Is it your belief that the proposed fine falls

10      within the guideline range?

11                  MR. BURNS:    We do believe there is a basis to

12      arrive at the proposed fine under a guidelines

13      calculation, but we at the same time certainly think that

14      the proposed agreed upon fine is appropriate when applying

15      all the factors under 3553A, including the guidelines.

16                  THE COURT:    Does the government believe that the

17      proposed fine falls within the applicable guideline range?

18                  MS. MOSER:    It does.    The government echos the

19      position that Mr. Burns just articulated regarding its

20      careful consideration of the 3553A factors as well as a

21      guidelines analysis, recognizing, of course, Your Honor --

22      and this was certainly part of our submission in the case

23      against the Japanese subsidiary -- that there are several

24      approaches and ways to look at the guidelines under

25      Chapter 8 in considering a complex organization.
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1                   But it is the position of the government that

2       the proposed fine of $203 million and the sentence of

3       probation would be appropriate within the guidelines as

4       well as under Title 18.

5                   THE COURT:    With regard to probation, what do

6       the parties have in mind?

7                   MS. MOSER:    The proposal that's part of the

8       recommended sentence set forth in the plea agreement is a

9       term of three years probation, Your Honor, which falls

10      essentially right in the middle of the range set forth in

11      the guidelines of one to five years for a felony under

12      8D1.2.

13                  THE COURT:    Thank you.

14                  Mr. Fuqua, please understand that in addition to

15      the fine that we spoke about a moment ago, a guilty plea

16      would expose the company to other penalties under the

17      applicable statutes and guidelines.         These include a

18      sentence of up to five years probation.         While on

19      probation, the company would have to comply with certain

20      conditions, and were it to violate any condition, it could

21      be subjected to further penalties.

22                  Have you discussed that with counsel?

23                  CORPORATE REPRESENTATIVE:       I have, Your Honor.

24                  THE COURT:    On the matter of restitution, the

25      law provides that restitution should be required for an
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1       offense of this type, but the law recognizes that in

2       exceptional circumstances a Court may find that the

3       interest in affording restitution is outweighed by the

4       burden on the sentencing process.        In this instance, the

5       parties contemplate that the Court will make such a

6       finding.

7                   I agreed in the previous case that the burden on

8       the sentencing process justified applying the exception.

9       Please understand, however, that under the law,

10      restitution could be ordered.        Do you understand, sir?

11                  CORPORATE REPRESENTATIVE:       I do, Your Honor.

12                  THE COURT:    With regard to conditions of

13      probation, have the parties talked about any particular

14      conditions?

15                  MS. MOSER:    Your Honor, yes, they have.

16                  As set forth in the plea agreement as part of

17      the sentencing recommendation, which is at paragraph 19,

18      there are certain subparagraphs that set forth that the

19      parties have agreed certain provisions should apply to any

20      term of probation imposed by the Court, and those include:

21                  That UBS shall continue to implement a

22      compliance program designed to prevent and detect or

23      otherwise remediate the conduct that is set forth in two

24      attachments to the plea agreement.         One is Exhibit 1 and

25      one is Exhibit 3;
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1                   Another condition is that UBS shall continue to

2       strengthen its compliance program and internal controls as

3       required by other regulators with whom UBS has settled in

4       connection with the LIBOR and Foreign Exchange

5       investigations.

6                   Those are just two such terms.        And of course

7       the parties are amenable to any other terms that the

8       probation office thinks are necessary.

9                   THE COURT:    Thank you.

10                  Mr. Fuqua, in addition to the fine, probation

11      with conditions and restitution, the company would have to

12      pay a special assessment in the amount of $400 and could

13      also be required to pay certain costs.

14                  Do you understand all these possible

15      consequences of a plea of guilty?

16                  CORPORATE REPRESENTATIVE:       I do, Your Honor.

17                  THE COURT:    Under the Sentencing Guidelines and

18      the applicable statutes, the Court is required to impose a

19      sentence that is sufficient without being harsher than

20      necessary to serve certain purposes, including to impose

21      just punishment, reflect the seriousness of the offense

22      conduct, promote respect for law, and provide adequate

23      deterrence as well as restitution, if feasible.

24                  In deciding what sentence is sufficient, the

25      Court is required to make certain findings by a
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1       preponderance of the evidence based on information

2       provided by the parties, and as happened in the previous

3       case, I am going to ask for a presentence report and give

4       the parties an opportunity to submit sentencing memos or a

5       joint memo as they did last time.

6                   After I've received the report and the parties'

7       input with regard to an appropriate sentence, I will then

8       be in a position to determine whether to accept the plea

9       agreement.     Until then, I can't be sure whether the plea

10      agreement that has been negotiated should be accepted as

11      sufficient.

12                  Do you understand, sir?

13                  CORPORATE REPRESENTATIVE:       I do.

14                  THE COURT:    If I decide that it is sufficient,

15      then the agreement can be accepted and the company can be

16      sentenced in accordance with the agreement.          If not, then

17      the company will have an opportunity to withdraw a guilty

18      plea.

19                  Do you understand, sir?

20                  CORPORATE REPRESENTATIVE:       I do, Your Honor.

21                  THE COURT:    Before we go further, if you would

22      like to have an opportunity to consult with counsel

23      privately, I'll be happy to give you that opportunity.

24      Otherwise we can simply proceed.

25                  CORPORATE REPRESENTATIVE:       Happy to proceed,
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1       Your Honor.

2                   THE COURT:    All right.    At this point I need to

3       be sure that you understand the rights that the company

4       will be giving up by pleading guilty.

5                   Please understand that the company has a right

6       to plead not guilty even if it is guilty.          Under the law,

7       any defendant can plead not guilty and require the

8       government to prove the case to the satisfaction of a

9       jury.

10                  If the company were to plead not guilty, it

11      would be entitled to a trial by a jury consisting of 12

12      people drawn from the community who would be impaneled

13      after appropriate questions to determine their ability to

14      decide the case fairly and impartially based solely on the

15      evidence and the applicable law.

16                  You would have a right to be represented by a

17      lawyer at the trial and at every other stage of the

18      proceeding, including any appeal; and by you, of course I

19      mean the company.

20                  At the trial, the company would be presumed

21      innocent and the government would have to prove the

22      company's guilt beyond a reasonable doubt to the

23      satisfaction of all 12 members of the jury.          If the case

24      were tried, the company would have a right to be found not

25      guilty if the admissible evidence did not sustain a
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1       finding of guilty beyond a reasonable doubt.

2                   In the course of the trial, any witnesses for

3       the government would have to appear in court and testify

4       in the presence of the company's representatives.              The

5       company would have the right to see and hear and confront

6       and question any witnesses called by the government.             The

7       company would have a right to object to the testimony of

8       any witness for the government in whole or in part and ask

9       that the testimony be excluded, and the company would have

10      a right to object to and seek to exclude any other

11      evidence offered by the government.

12                  The company would have a right to present

13      evidence if it wished to do so but it could not be

14      required to do so.      The company would have the right to

15      use subpoenas issued by the Court to compel the production

16      of evidence in its favor, including the testimony of

17      witnesses who did not want to appear voluntarily.              Again,

18      however, the company could not be required to present any

19      evidence or call any witnesses.

20                  If the company pleads guilty, it will give up

21      its right to a trial.      Do you understand, sir?

22                  CORPORATE REPRESENTATIVE:       I do, Your Honor.

23                  THE COURT:    Before a guilty plea can be

24      accepted, the Court is required to be sure that there is

25      an adequate factual basis for the plea of guilty.              The
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1       Court is not permitted to accept a guilty plea unless it

2       is satisfied that the defendant is in fact guilty.             This

3       means that I will have to ask you what the company did

4       that makes it guilty of this offense and you will be

5       obliged to answer my question waiving whatever right the

6       company might have to decline to speak on this subject and

7       incriminate itself.

8                   Do you understand?

9                   CORPORATE REPRESENTATIVE:       I do, Your Honor.

10                  THE COURT:    If the company pleads guilty and the

11      plea is accepted, the company will be giving up any

12      defenses that it might have to this charge.          In addition,

13      a guilty plea constitutes a waiver of the right to object

14      or appeal on the basis of anything that has happened

15      before now.     Accordingly, if the company believes that its

16      legal rights have been violated in some way in connection

17      with the investigation or prosecution of the case thus

18      far, the company will be waiving any and all such claims.

19                  Do you understand?

20                  CORPORATE REPRESENTATIVE:       I do, Your Honor.

21                  THE COURT:    Is the company willing to give up

22      its right to a jury trial and the other rights that I have

23      discussed?

24                  CORPORATE REPRESENTATIVE:       It is, Your Honor.

25                  THE COURT:    Is anybody threatening the company
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1       to get the company to give up its rights to a jury trial

2       and these other rights?

3                   CORPORATE REPRESENTATIVE:       No, Your Honor.

4                   THE COURT:    The company, through you, its

5       authorized representative, is acting knowingly and

6       voluntarily after adequate consultation and review with

7       counsel?

8                   CORPORATE REPRESENTATIVE:       It is, Your Honor.

9                   THE COURT:    With regard to the plea agreement,

10      can you confirm, Mr. Fuqua, that you have read the

11      agreement in full?

12                  CORPORATE REPRESENTATIVE:       I can, Your Honor.

13                  THE COURT:    And reviewed it with your counsel in

14      detail?

15                  CORPORATE REPRESENTATIVE:       Yes.

16                  THE COURT:    Are you satisfied that you

17      understand the agreement?

18                  CORPORATE REPRESENTATIVE:       I am, Your Honor.

19                  THE COURT:    Mr. Burns, are your satisfied that

20      Mr. Fuqua acting as the company's representative

21      understands the terms of the plea agreement?

22                  MR. BURNS:    I am, Your Honor.

23                  THE COURT:    Can you confirm that you have

24      reviewed the agreement in detail with him?

25                  MR. BURNS:    In detail, yes, Your Honor.
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1                   THE COURT:    All right, thank you.

2                   Let me ask counsel for the government to please

3       review the essential terms of the agreement at this time.

4                   MS. MOSER:    Of course, Your Honor.

5                   As an initial matter, the defendant, UBS AG, has

6       acknowledged that certain of its employees committed

7       criminal conduct that violated the non-prosecution

8       agreement entered into with the government in December of

9       2012 with which Your Honor is familiar.         And by the terms

10      of the current agreement, UBS agrees that it will not make

11      any public statement that contradicts its acceptance of

12      responsibility for the conduct set forth in Exhibit 3 to

13      the plea agreement relating to LIBOR and other IBORS or

14      contradicting the facts that are set forth in Exhibit 1 to

15      the plea agreement which sets forth the factual basis for

16      the breach of the non-prosecution agreement.

17                  In exchange for the defendant's guilty plea to

18      the wire fraud charge on or about June 29, 2009, the

19      Criminal Division agrees and has agreed by the terms of

20      the plea agreement that it won't file any additional

21      criminal charges against the defendant or any of its

22      affiliates or subsidiaries relating to any of the conduct

23      described in Exhibit 3, relating to UBS's submissions for

24      the additional benchmark rates that were listed in

25      Appendix C to the December 2012 non-prosecution agreement,
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1       relating to information disclosed by information to the

2       Criminal Division prior to today's date, relating to

3       Foreign Exchange spot trading markets, relating to

4       information disclosed by the defendant to the Criminal

5       Division prior to today's date, relating to precious

6       metals trading markets, and relating to information

7       disclosed by the defendant to the Criminal Division prior

8       to today's date relating to UBS's V10 currency indices.

9                   UBS has also knowingly, intelligently and

10      voluntarily waived its right to appeal its conviction in

11      this case, the right to appeal the sentence imposed by the

12      Court in accordance with Rule 11C and the right to bring

13      any collateral challenge, including challenges under 2255

14      challenging either the conviction or the sentence imposed

15      in this case.

16                  As Your Honor knows and we've discussed briefly

17      today, there is a sentencing recommendation contained

18      within the plea agreement which provides that under Rule

19      11(c)(1)(C), the parties agree that the appropriate

20      disposition of this case and are recommending jointly that

21      Your Honor impose are a sentence requiring the defendant

22      to pay to the United States a criminal fine in the amount

23      of $203 million, no order of restitution as previously put

24      on the record in this proceeding, and the $400 special

25      assessment.
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1                   We've already discussed with Your Honor certain

2       of the terms of probation that are proposed for the

3       recommended three year term of probation.

4                   And there are also terms set forth in the

5       agreement addressing rights of the parties should the

6       Court not accept the proposed agreement as well as what

7       happens in the event of a breach of the agreement.

8                   And finally, paragraph 29 states that all of the

9       terms of the agreement between UBS and the Criminal

10      Division are set forth in the agreement and it represents

11      the complete agreement.

12                  There is one addendum at paragraph 30 regarding

13      a separate agreement entered into by the defendants with

14      the Antitrust Division of the Department of Justice.           Of

15      course, it's separate and apart from the Criminal

16      Division.

17                  THE COURT:    Thank you.

18                  Mr. Fuqua, is that an accurate summary of the

19      basic terms of the plea agreement?

20                  CORPORATE REPRESENTATIVE:       It is, Your Honor.

21                  THE COURT:    With regard to the waiver of the

22      right to appeal or collaterally attack the conviction, the

23      agreement provides that the company waives its rights to

24      appeal or collaterally attack a conviction or sentence if

25      the sentence does not exceed a fine of $203 million.
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1                   Is the company voluntarily waiving its right to

2       appeal or collaterally attack a conviction and sentence as

3       part of the overall plea agreement here?

4                   CORPORATE REPRESENTATIVE:       We do, Your Honor.

5                   THE COURT:    Other than the promises and

6       provisions contained in the plea agreement and summarized

7       by counsel, has anyone made any other promises that have

8       caused the company to want to plead guilty?

9                   CORPORATE REPRESENTATIVE:       No, Your Honor.

10                  THE COURT:    Has anybody threatened the company

11      to induce it to enter into this plea agreement?

12                  CORPORATE REPRESENTATIVE:       No, Your Honor.

13                  THE COURT:    Mr. Fuqua, are you satisfied that

14      the company, acting through its duly authorized officers

15      and directors, understands the terms of this plea

16      agreement?

17                  CORPORATE REPRESENTATIVE:       I am, Your Honor.

18                  THE COURT:    And that the company knowingly and

19      voluntarily has decided to enter into this agreement

20      believing it to be in the company's best interest?

21                  CORPORATE REPRESENTATIVE:       We have, Your Honor.

22                  THE COURT:    Mr. Burns, is it your belief that

23      entering into this plea agreement is in the company's best

24      interest all things considered?

25                  MR. BURNS:    Yes, Your Honor.
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1                   THE COURT:    Please briefly explain the basis for

2       your opinion.

3                   MR. BURNS:    We believe that the plea agreement

4       represents an agreed upon resolution that is appropriate

5       in light of the nature of the alleged conduct and the

6       participation by certain bank employees in the conduct,

7       the nature of the charges, in our view of available

8       defenses, as well, Your Honor.

9                   THE COURT:    Thank you.

10                  Ms. Moser, is it the government's view that it

11      has a strong case against the company with regard to the

12      charge in the information?

13                  MS. MOSER:    Yes, it is, Your Honor.

14                  THE COURT:    If the case were tried, is it your

15      belief that the government could prove beyond a reasonable

16      doubt the facts contained in the statements of fact

17      attached to the plea agreement at Exhibit 3?

18                  MS. MOSER:    Yes, Your Honor the company has

19      admitted that full statement of facts as part of its

20      non-prosecution agreement in 2012.

21                  THE COURT:    Mr. Fuqua, have you reviewed the

22      statements of fact attached to the plea agreement at

23      Exhibit 3?

24                  CORPORATE REPRESENTATIVE:       I have, Your Honor.

25                  THE COURT:    Have you discussed that statement of
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1       facts in detail with counsel?

2                   CORPORATE REPRESENTATIVE:       I have, Your Honor.

3                   THE COURT:    Does the company agree to the

4       accuracy of the facts set out in that statement?

5                   CORPORATE REPRESENTATIVE:       We do, Your Honor.

6                   THE COURT:    Did the company engage in the

7       conduct attributed to it in the statement of facts?

8                   CORPORATE REPRESENTATIVE:       We did, Your Honor.

9                   THE COURT:    Did the company's employees commit

10      the conduct with the mental state described in the

11      statement of facts?

12                  CORPORATE REPRESENTATIVE:       They did, Your Honor.

13                  THE COURT:    The plea agreement has been signed

14      by counsel and by Mr. Fuqua and it will be filed.

15                  At this time, Mr. Fuqua, I can ask the clerk to

16      read the information or you can waive a reading.

17                  CORPORATE REPRESENTATIVE:       We waive reading,

18      Your Honor.

19                  THE COURT:    All right.    Then I'll ask the clerk

20      to put the company to its plea.

21                  Would you please stand.

22                  THE CLERK:    United States of America v. UBS AG,

23      Criminal Number 15:CR76(RNC) Information.          The United

24      States Department of Justice Criminal Division Fraud

25      Section charges in Count One:        The defendant is in
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1       violation of Title 18 United States Code Sections 1343 and

2       2.

3                   To Count One, how do you plead?

4                   CORPORATE REPRESENTATIVE:       Guilty, Your Honor.

5                   THE CLERK:    Guilty, Your Honor.

6                   THE COURT:    Please be seated.

7                   On the basis of Mr. Fuqua's statements on behalf

8       of the company, in particular his answers to my questions,

9       the remarks of counsel for the company, the remarks of

10      counsel for the government, my review of the plea

11      agreement, including the statement of facts to which the

12      parties have agreed, and my familiarity with the subject

13      matter based on the previous case and my review of the

14      filings in this case, I find that Mr. Fuqua is duly

15      authorized to act on behalf of the company; that the

16      company has knowingly and voluntarily waived its right to

17      indictment by a grand jury; that the company is

18      competently represented by Mr. Fuqua in his capacity as

19      the representative of the company as well as its counsel

20      of record; that the company understands the charge set out

21      in the information and the maximum possible penalties;

22      that the company knows and understands its right to a jury

23      trial and the rights it would have at any trial and on any

24      appeal; that the company has knowingly and voluntarily

25      waived its right to a trial and the other rights that we
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1       have discussed today; that the company has decided to

2       plead guilty to a charge in the information because it is

3       in fact guilty; that the company's plea of guilty is a

4       knowing and voluntary plea supported by an adequate

5       factual basis as to each of the three essential elements

6       of the offense; and accordingly, that a finding of guilty

7       may enter.     Therefore, the company's plea of guilty is

8       hereby accepted and a finding of guilty will enter now.

9                   The case will be referred to the probation

10      office for a presentence investigation and preparation of

11      a presentence report.

12                  As mentioned earlier, it will be helpful to have

13      a presentence report as well as further input from the

14      parties with regard to the appropriateness of the agreed

15      upon disposition.      I will ask the clerk to confer with

16      counsel to set a schedule for preparation of a report,

17      submission of sentencing memos, and a sentencing hearing

18      date.

19                  If it should turn out that I have questions for

20      the parties, I may ask to arrange a conference by

21      telephone in advance of further submissions by the

22      parties.

23                  Subject to the parties' views and any conference

24      with the clerk regarding scheduling, I'm going to suggest

25      a proposed schedule to you.       I won't sign it until you've
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1       had a chance to be sure that it will work.

2                   Tentatively the initial presentence report would

3       be disclosed July 20.       Parties would have an opportunity

4       to submit comments to the probation office by August 3,

5       and the final report would issue August 13.          The company's

6       sentencing memo would be due August 20 and the

7       government's response August 25, and the hearing would be

8       held on August 31 at 10:00 a.m.

9                   If that schedule works, fine, if not, fine.        As

10      I said, I'll ask the clerk to confer with counsel to come

11      up with a schedule that does work for everybody.

12                  Is there anything further that we need to do at

13      this time?

14                  MS. MOSER:    Your Honor, the government wanted to

15      just note that certainly between now and sentencing that

16      it will file something regarding its view of the

17      appropriate and reasonable way to notify victims in this

18      matter.

19                  If I could have one moment to confer with

20      Mr. Burns?

21                  THE COURT:    Sure.

22                        (Pause)

23                  MS. MOSER:    Your Honor, thank you.      And after

24      conferring with counsel, we thought if in Your Honor's

25      view you thought it appropriate, that you might make a
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1       recommendation to the probation office that the same

2       probation officer, if she is in fact still with the

3       office, handle this matter that handled the subsidiary

4       matter.    Because we worked well with her and she had some

5       familiarity with the subject matter.         And I believe her

6       name was Kristen Moran.

7                   THE COURT:    Yes.

8                   MS. MOSER:    Thank you.

9                   MR. BURNS:    Your Honor, one small matter.

10                  We would ask, and this was done in a prior case

11      as well, that the transcripts identify "corporate

12      representative" rather than "Mr. Fuqua" when Mr. Fuqua is

13      speaking.

14                  THE COURT:    That's fine.

15                  MR. BURNS:    Thank you, Your Honor.

16                  THE COURT:    Thank you.

17                        (Proceedings adjourned at 11:36 a.m.)

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1                             C E R T I F I C A T E

2

3                             In Re: U.S. vs. UBS AG

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5

6                   I, Darlene A. Warner, RDR-CRR, Official Court

7       Reporter for the United States District Court for the

8       District of Connecticut, do hereby certify that the

9       foregoing pages are a true and accurate transcription of

10      my shorthand notes taken in the aforementioned matter to

11      the best of my skill and ability.

12

13

14

15
                         /s/__________________________
16
                           DARLENE A. WARNER, RDR-CRR
17                           Official Court Reporter
                           450 Main Street, Room #223
18                         Hartford, Connecticut 06103
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